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                                 EXHIBIT COVER SHEET



                                                                             Exhibit

Party Submitting:     Mary Ida Townson, U.S. Trustee for Region 21


Admitted:             YES        or NO        (circle one)                     179


Chapter 11 Debtor:    Genie Investments NV, Inc.


Case No.              3:24−bk−00496−BAJ


Nature of Hearing:    Trial on

                      U.S. Trustee’s Motion to Appoint Chapter 11
                      Trustee, or, in the Alternative, Appoint
                      Examiner, Dismiss Case, or Convert Case to
                      Chapter 7 (Doc. No. 20)

                      Debtor’s Response Thereto (Doc. No. 34)

                      U.S. Trustee’s Reply (Doc. No. 38)

Trial Date:           April 9, 2024, at 9:00 a.m.




                            United States Bankruptcy Court
                               Middle District of Florida

                     Dated: ___________________________, 2024.


                     By: _______________________, Deputy Clerk
                     Case 3:24-bk-00496-BAJ         Doc 53-15        Filed 04/04/24   Page 2 of 2




                                                    April 10, 2023

                                                   Wiring Instructions
Step 1: As per your Term Sheet, within seven (7) calendar days the Company must wire the necessary amount, plus
(+) a seventy-five-dollar ($75) wiring fee to the account listed below:

                                                Bank Name & Address:
                                                     Chase Bank
                                               1515 Atlantic Boulevard
                                              Jacksonville, Florida 32207

                                              Account Mailing Address:
                                             401 Ryland Street Suite 200-A
                                                 Reno, Nevada 89502

                                             Routing Number:

                                         Credit Account Number:             8502

                                         Account Title: Genie Investments NV
          **When sending the wire, please write “ICA” in the Memo along with your User ID (2815).**

Step 2: The Company must then send a message to Provider, stating that they have remitted to the Provider and
attach proof of the transferred funds.

Step 3: The provider will confirm the receipt of the wire transfer back to the Company.

Step 4: The Company must submit all requested deliverables to the Provider before delivering funds. By submitting
all deliverables and executed loan agreements, the Company is providing written authorization to transfer funds a to
be created Provider account and lock the funds in that account with Provider's Warehouse Lending Source.

Step 5: Once the Provider aggregates the Company's funds with other borrowers to meet its minimum threshold, the
funds will be transferred and locked in a Provider account with the Provider's Warehouse Lending Source, where the
funds remain in the account until your Line of Credit funds.

  During this funding period, funds will be blocked and will not be available for use, nor will they be refundable, nor
    partially refundable. If the Company's line of credit is not funded within the time frame as per the Business
  Growth Line of Credit Agreement after funds have been delivered, then the Company's funds will be returned in
                                  full less the wiring fee of seventy-five dollars ($75).




                                                                                        Initials: ___________________
